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  /s/ Lauren M. Moyer




  April 15, 2021
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  /s/ LeRoy W. Etheridge, Esq., for **




  April 21, 2021




  ** The Chapter 13 Trustee has no
  objection to the terms of the herein
  Stipulation, without any prejudice
  to the Chapter 13 Trustee's rights
  and remedies.
